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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :       22-CR-366 (CRC)
                                              :
                v.                            :
                                              :
NICOLAS ANTHONY MONCADA,                      :
                                              :
                       Defendant.             :


            CONSENT MOTION TO CONTINUE THE SENTENCING HEARING

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and with the consent by and through counsel for the defendant,

respectfully submit this Consent Motion to Continue the Sentencing Hearing for approximately 60

days in the above captioned matter currently scheduled for Tuesday, September 5, 2023. In support

of this motion, the government relies on the following points and authorities and any other such

points and authorities as may be raised at any hearing on this matter.

       1)       The Court previously set the sentencing hearing in this matter for September 5,

2023, at 11:00 a.m.

       2)       Because the government requests additional time to complete the necessary

sentencing paperwork, the government, with consent of counsel for the defendant, requests that

the sentencing hearing be continued for approximately 60 days – the parties are available

November 13, 14, 15, and 20, 2023, or whatever date is consistent with the Court’s calendar.

       3)       If granted, the parties will reach out to the Court’s courtroom deputy to obtain the

available date(s) for the Court and parties. In addition, the parties will file their respective

sentencing memorandum on or before one week prior to the next sentencing hearing.

       4)       Undersigned counsel for the government can represent that counsel for the
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defendant consents to this motion and further advise the Court that the defendant agrees that the

Speedy Trial Clock, pursuant to the Speedy Trial Act 18 U.S. Code § 3161, should be tolled until

the next sentencing hearing in this matter.

       6)       Wherefore, the government, with consent of counsel for the defendant, requests that

the sentencing hearing be continued for approximately 60 days or whatever date is consistent with

the Court’s calendar.



                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY

                                      By:      /s/ Emory V. Cole
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